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IN THE UNITED STA TES DlSTRICT CoURT E D B Y
WESTERN DISTRICT OF TENNESSEE J\
EASTERN DWISION, A T JA CKSON UL 1 2 2005
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NEIL MORRIS, ) u. S_ '“~ °°wd. mm
) W- D. OB‘;;UC' COU|'I`
Pmimip§ ) "
) Case No. 1:04-]200
v. )
)
SAM’s CL UB and ) .)URY DEMAND
TRA Vls MALONE, )
)
)
Defendams. )

 

A GREED PROTECTIVE ORDER

 

Upon agreement of the parties, by and through counsel, it is hereby ORDERED that the
following restrictions and procedures shall apply to the documents, testimony, interrogatory
answers, and other information produced or given that are designated herein by the Defendant,
Wal-l\/Iart Stores, Inc. (hereinafter “Wal»l\/lart”) as confidential (hereinafter “CONFIDENTIAL
MATERIALS”):

l. Wal-Mart has designated the following documents, materials, or other
information to be produced or disclosed to counsel for the Plaintiff during discovery as
"Conlidential l\/Iaterials:”

Wal-Mart/ Sam’s Club policies regarding leave of absence
Wal-Mart/ Sarn’s Club Leave of Absence Packet

Wal-l\/lart/ Sam’s Club policies prohibiting harassment and
inappropriate conduct

Wal-Mart / Sam’s Club Computer Based Learning training modules
Wal-Mart / Sam"s Club policies regarding the investigation of

complaints of sexual harassment

This document entered on the docket sheet i_n compliap_ce
10733"'6-2 with nine se and:or_?e (a) FRcP on

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Wal-l\/lart/ Sam’s Club lllness Protection P|an policy
Payroll Information relating to individuals employed by Sam`s Club

Personnel F iles and employment information relating to individuals
employed by Sam’s Club

Wal-Mart has watermarked on the face of the document the word “Confidential }’roduced
Pursuant to Protective Order" which designation shall make such items CONFIDENTIAL
MATERIALS. All copies, prints or other reproductions, summaries, notes, synopses or any other
memoralization of CONFIDENTIAL l\/IATERIALS, or the information contained therein_, shall
be deemed CONF]DENTIAL MATERIALS subject to this Protective Order.

2. CONFIDENTIAL MATERIALS produced or disclosed to counsel for the
Plaintiff in this action (which term shall include all attorney and non-attorney personnel, all of
whom are subject to the terms of this Protective Order) shall not be disclosed to any person or
entity except experts or consultants retained by counsel for the Plaintiff, other witnesses in this
cause, the court and jury.

Disclosure shall be made only to such persons as are reasonably necessary for the
prosecution of this lawsuit. CONF]DENTIAL i\/[ATERIALS, which are set forth, or otherwise
referenced in transcripts, affidavits, exhibits, briefs, memoranda, discovery responses, or other
documents or pleadings in this matter shall likewise be deemed CONFIDENTIAL MATERIALS
subject to this Protective Order.

3. This Protective Order shall not preclude the parties from exercising any rights or
raising any objections otherwise available to them under the rules of discovery and evidence, not
inconsistent with the terms hereof

4. Upon termination of this lawsuit, by judgment or settlement, counsel for the

Plaintift` shall promptly return to counsel for Wal-l\/iart ali CONFIDENTIAL MATERIALS,

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including all designated materials of the type described in paragraph l of this Protective Order,
in the possession of counsel, counsel’s retained consultants and experts, or any other person to
whom such documents or information were disseminated

5. Use of any CONFIDENTIAL MATERIALS in discovery, at trial or in any other
manner shall not alter the obligations set forth in this Protective Order with respect to such
CONFIDENTIAL MATERIALS. CONFIDENTIAL MATERIALS, which comprise any portion
of the trial or appellate record in this case shall remain confidential.

This C ourt shall retain jurisdiction over this Protective Order for purposes of enforcement
and adjudication of claims concerning alleged breaches of its provisions Such jurisdiction shall

survive the termination of this lawsuit

It is so ordered this ji;ay of

  

,/
, 2005.

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UNlr;,t) srATEs DISTRICT JUDGE

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CON SENTED TO AND APPROVED FOR ENTRY:

ATTORNEYS FOR PLAINTIFF:

//M

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(901) 854-0777

Al"l`ORNEYS FOR DEFENDANTS:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 1:04-CV-01200 was distributed by faX, mail, or direct printing on
.luly 12, 2005 to the parties listedl

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

